                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                               KNOXVILLE DIVISION


 ENERGY AND POLICY INSTITUTE,

       Plaintiff,

 v.                                                No. 3:22-cv-00220-TAV-DCP

 TENNESSEE VALLEY AUTHORITY,

       Defendant.


                                    NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Energy and Policy Institute (EPI), through counsel,

appeals to the United States Court of Appeals for the Sixth Circuit from the Memorandum Opinion

and Order (Doc. 66) entered in this action on February 5, 2025 denying EPI’s motion for attorney

fees and costs (Doc. 52).



Respectfully submitted this 10th day of February, 2025

                                                   By:     /s/ Allison Kole

                                                           Allison Kole
                                                           Pro Hac Vice
                                                           General Counsel
                                                           Energy and Policy Institute
                                                           P.O. Box 337
                                                           El Verano, CA 95433
                                                           (202) 596-7540
                                                           allison@energyandpolicy.org

                                                           Chris Irwin
                                                           BPR# 025478
                                                           2131 Riverside Drive
                                                           Knoxville TN, 37915
                                                           (865) 257-4029



Case 3:22-cv-00220-TAV-DCP         Document 67 Filed 02/10/25            Page 1 of 2     PageID
                                        #: 1137
                                              christopherscottirwin@yahoo.com

                                              Zehava Robbins
                                              Pro Hac Vice
                                              Counsel
                                              Energy and Policy Institute
                                              P.O. Box 337
                                              El Verano, CA 95433
                                              (202) 643-6267
                                              zehava@energyandpolicy.org


                                              Attorneys for Plaintiff




Case 3:22-cv-00220-TAV-DCP   Document 67 Filed 02/10/25     Page 2 of 2     PageID
                                  #: 1138
